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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


             UNITED STATES OF AMERICA            : CRIMINAL ACTION
                                                 :
                        v.                       : NO. 1:12-CR-323-WSD-ECS
                                                 :
             EDWARD K. KIM                       :




                               ORDER CERTIFYING READY FOR TRIAL

                  The Court has been notified that a pretrial conference will

             not be necessary in this matter.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned as to this defendant, it

             is therefore ORDERED that this case be and is hereby CERTIFIED as

             ready for trial.



                  SO ORDERED, this 31st day of October, 2012.




                                                    S/ E. Clayton Scofield III
                                                    E. CLAYTON SCOFIELD III
                                                    UNITED STATES MAGISTRATE JUDGE




AO 72A
(Rev.8/82)
